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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                       )
                                    )
v.                                  )                 Case No. 1:22-cr-170
                                    )
BROWN                               )
____________________________________)


   STATUS REPORT REGARDING EXPERT WITNESS FOR INSANITY DEFENSE

       Defendant Trevor Brown, by and through counsel, hereby files this status report, pursuant

to the Court’s minute order entered on July 24, 2024.

       On July 23, 2024, a status conference was held. The Court granted permission to

Defendant to retain an expert to assess the appropriateness of a potential insanity defense, and if

such a defense were appropriate, to prepare a supporting expert evaluation and report.

       The Court requested that Defendant submit a status report by August 23, 2024 “updating

the Court as to the status of Defendant’s potential insanity defense.” A status conference was set

for September 3, 2024.

       As of the date of this filing, Defendant has retained an expert forensic psychologist. The

expert was provided with and reviewed relevant documents related to the case as well as the

forensic evaluation report dated October 20, 2022, prepared pursuant to the Court’s order. The

expert met with Defendant. Defendant’s attorneys then met with and are engaged in continuing

discussions with the expert. There may be the need for some further document review and

possibly a second meeting with the Defendant.

       By the status conference on September 3, 2024, Defendant will know for certain and

inform the Court whether he intends to assert an insanity defense, and if so, a report will be

prepared and ready for production to the Court and the Government by that date.


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Dated: August 20, 2024                                     Respectfully submitted,

                                                           /s/ Eden P. Quainton
                                                           Eden P. Quainton
                                                           Quainton Law PLLC
                                                           2 Park Ave., 20 th Fl.
                                                           New York, NY 10015
                                                           Tel: (212) 419-0575
                                                           Fax: (212) 376.5699
                                                           eden.quainton@quaintonlaw.net


                                                           /s/ Jonathan Gross
                                                           Jonathan Gross, Esq.
                                                           BAR ID: MD 0126
                                                           2833 Smith Ave, Suite 331
                                                           Baltimore, MD 21209
                                                           (443) 813-0141
                                                           jonathansgross@gmail.com


                               CERTIFICATE OF SERVICE

 I hereby certify that a copy of the foregoing is being served on opposing counsel via email on

                                       August 20, 2024

                                      /s/ Jonathan Gross




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